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 9 Attorneys for Defendant ELIZABETH A. HOLMES

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11                             UNITED STATES DISTRICT COURT

12                           NORTHERN DISTRICT OF CALIFORNIA

13                                    SAN JOSE DIVISION

14
     UNITED STATES OF AMERICA,               )   Case No. CR-18-00258-EJD
15                                           )
            Plaintiff,                       )   [PROPOSED] ORDER GRANTING MS.
16                                           )   HOLMES’ UNOPPOSED ADMINISTRATIVE
       v.                                    )   MOTION TO SET NEW REPORTING DATE
17                                           )
     ELIZABETH HOLMES and                    )
18   RAMESH “SUNNY” BALWANI,                 )   Hon. Edward J. Davila
                                             )
19          Defendants.                      )
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     [PROPOSED] ORDER
     CR-18-00258-EJD
            Case 5:18-cr-00258-EJD Document 1762 Filed 05/17/23 Page 2 of 2




 1         Having considered Ms. Holmes’ Unopposed Administrative Motion to Set New Reporting Date,

 2 the Court ORDERS that Defendant Holmes will be required to report to the Bureau of Prisons to begin

 3 serving her sentence on May 30, 2023, no later than 2:00 p.m.

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 5         IT IS SO ORDERED.

            May 17, 2023
 6 Dated: _____________

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                                                                    Hon. Edward J. Davila
 8                                                                  United States District Judge
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28 [PROPOSED] ORDER
   CR-18-00258-EJD
